Case 06-02229-lmj11   Doc 262 Filed 04/03/08 Entered 04/03/08 18:37:54   Desc
                        Main Document    Page 1 of 65
Case 06-02229-lmj11   Doc 262 Filed 04/03/08 Entered 04/03/08 18:37:54   Desc
                        Main Document    Page 2 of 65
Case 06-02229-lmj11   Doc 262 Filed 04/03/08 Entered 04/03/08 18:37:54   Desc
                        Main Document    Page 3 of 65
Case 06-02229-lmj11   Doc 262 Filed 04/03/08 Entered 04/03/08 18:37:54   Desc
                        Main Document    Page 4 of 65
Case 06-02229-lmj11   Doc 262 Filed 04/03/08 Entered 04/03/08 18:37:54   Desc
                        Main Document    Page 5 of 65
Case 06-02229-lmj11   Doc 262 Filed 04/03/08 Entered 04/03/08 18:37:54   Desc
                        Main Document    Page 6 of 65
Case 06-02229-lmj11   Doc 262 Filed 04/03/08 Entered 04/03/08 18:37:54   Desc
                        Main Document    Page 7 of 65
Case 06-02229-lmj11   Doc 262 Filed 04/03/08 Entered 04/03/08 18:37:54   Desc
                        Main Document    Page 8 of 65
Case 06-02229-lmj11   Doc 262 Filed 04/03/08 Entered 04/03/08 18:37:54   Desc
                        Main Document    Page 9 of 65
Case 06-02229-lmj11   Doc 262 Filed 04/03/08 Entered 04/03/08 18:37:54   Desc
                       Main Document     Page 10 of 65
Case 06-02229-lmj11   Doc 262 Filed 04/03/08 Entered 04/03/08 18:37:54   Desc
                       Main Document     Page 11 of 65
Case 06-02229-lmj11   Doc 262 Filed 04/03/08 Entered 04/03/08 18:37:54   Desc
                       Main Document     Page 12 of 65
Case 06-02229-lmj11   Doc 262 Filed 04/03/08 Entered 04/03/08 18:37:54   Desc
                       Main Document     Page 13 of 65
Case 06-02229-lmj11   Doc 262 Filed 04/03/08 Entered 04/03/08 18:37:54   Desc
                       Main Document     Page 14 of 65
Case 06-02229-lmj11   Doc 262 Filed 04/03/08 Entered 04/03/08 18:37:54   Desc
                       Main Document     Page 15 of 65
Case 06-02229-lmj11   Doc 262 Filed 04/03/08 Entered 04/03/08 18:37:54   Desc
                       Main Document     Page 16 of 65
Case 06-02229-lmj11   Doc 262 Filed 04/03/08 Entered 04/03/08 18:37:54   Desc
                       Main Document     Page 17 of 65
Case 06-02229-lmj11   Doc 262 Filed 04/03/08 Entered 04/03/08 18:37:54   Desc
                       Main Document     Page 18 of 65
Case 06-02229-lmj11   Doc 262 Filed 04/03/08 Entered 04/03/08 18:37:54   Desc
                       Main Document     Page 19 of 65
Case 06-02229-lmj11   Doc 262 Filed 04/03/08 Entered 04/03/08 18:37:54   Desc
                       Main Document     Page 20 of 65
Case 06-02229-lmj11   Doc 262 Filed 04/03/08 Entered 04/03/08 18:37:54   Desc
                       Main Document     Page 21 of 65
Case 06-02229-lmj11   Doc 262 Filed 04/03/08 Entered 04/03/08 18:37:54   Desc
                       Main Document     Page 22 of 65
Case 06-02229-lmj11   Doc 262 Filed 04/03/08 Entered 04/03/08 18:37:54   Desc
                       Main Document     Page 23 of 65
Case 06-02229-lmj11   Doc 262 Filed 04/03/08 Entered 04/03/08 18:37:54   Desc
                       Main Document     Page 24 of 65
Case 06-02229-lmj11   Doc 262 Filed 04/03/08 Entered 04/03/08 18:37:54   Desc
                       Main Document     Page 25 of 65
Case 06-02229-lmj11   Doc 262 Filed 04/03/08 Entered 04/03/08 18:37:54   Desc
                       Main Document     Page 26 of 65
Case 06-02229-lmj11   Doc 262 Filed 04/03/08 Entered 04/03/08 18:37:54   Desc
                       Main Document     Page 27 of 65
Case 06-02229-lmj11   Doc 262 Filed 04/03/08 Entered 04/03/08 18:37:54   Desc
                       Main Document     Page 28 of 65
Case 06-02229-lmj11   Doc 262 Filed 04/03/08 Entered 04/03/08 18:37:54   Desc
                       Main Document     Page 29 of 65
Case 06-02229-lmj11   Doc 262 Filed 04/03/08 Entered 04/03/08 18:37:54   Desc
                       Main Document     Page 30 of 65
Case 06-02229-lmj11   Doc 262 Filed 04/03/08 Entered 04/03/08 18:37:54   Desc
                       Main Document     Page 31 of 65
Case 06-02229-lmj11   Doc 262 Filed 04/03/08 Entered 04/03/08 18:37:54   Desc
                       Main Document     Page 32 of 65
Case 06-02229-lmj11   Doc 262 Filed 04/03/08 Entered 04/03/08 18:37:54   Desc
                       Main Document     Page 33 of 65
Case 06-02229-lmj11   Doc 262 Filed 04/03/08 Entered 04/03/08 18:37:54   Desc
                       Main Document     Page 34 of 65
Case 06-02229-lmj11   Doc 262 Filed 04/03/08 Entered 04/03/08 18:37:54   Desc
                       Main Document     Page 35 of 65
Case 06-02229-lmj11   Doc 262 Filed 04/03/08 Entered 04/03/08 18:37:54   Desc
                       Main Document     Page 36 of 65
Case 06-02229-lmj11   Doc 262 Filed 04/03/08 Entered 04/03/08 18:37:54   Desc
                       Main Document     Page 37 of 65
Case 06-02229-lmj11   Doc 262 Filed 04/03/08 Entered 04/03/08 18:37:54   Desc
                       Main Document     Page 38 of 65
Case 06-02229-lmj11   Doc 262 Filed 04/03/08 Entered 04/03/08 18:37:54   Desc
                       Main Document     Page 39 of 65
Case 06-02229-lmj11   Doc 262 Filed 04/03/08 Entered 04/03/08 18:37:54   Desc
                       Main Document     Page 40 of 65
Case 06-02229-lmj11   Doc 262 Filed 04/03/08 Entered 04/03/08 18:37:54   Desc
                       Main Document     Page 41 of 65
Case 06-02229-lmj11   Doc 262 Filed 04/03/08 Entered 04/03/08 18:37:54   Desc
                       Main Document     Page 42 of 65
Case 06-02229-lmj11   Doc 262 Filed 04/03/08 Entered 04/03/08 18:37:54   Desc
                       Main Document     Page 43 of 65
Case 06-02229-lmj11   Doc 262 Filed 04/03/08 Entered 04/03/08 18:37:54   Desc
                       Main Document     Page 44 of 65
Case 06-02229-lmj11   Doc 262 Filed 04/03/08 Entered 04/03/08 18:37:54   Desc
                       Main Document     Page 45 of 65
Case 06-02229-lmj11   Doc 262 Filed 04/03/08 Entered 04/03/08 18:37:54   Desc
                       Main Document     Page 46 of 65
Case 06-02229-lmj11   Doc 262 Filed 04/03/08 Entered 04/03/08 18:37:54   Desc
                       Main Document     Page 47 of 65
Case 06-02229-lmj11   Doc 262 Filed 04/03/08 Entered 04/03/08 18:37:54   Desc
                       Main Document     Page 48 of 65
Case 06-02229-lmj11   Doc 262 Filed 04/03/08 Entered 04/03/08 18:37:54   Desc
                       Main Document     Page 49 of 65
Case 06-02229-lmj11   Doc 262 Filed 04/03/08 Entered 04/03/08 18:37:54   Desc
                       Main Document     Page 50 of 65
Case 06-02229-lmj11   Doc 262 Filed 04/03/08 Entered 04/03/08 18:37:54   Desc
                       Main Document     Page 51 of 65
Case 06-02229-lmj11   Doc 262 Filed 04/03/08 Entered 04/03/08 18:37:54   Desc
                       Main Document     Page 52 of 65
Case 06-02229-lmj11   Doc 262 Filed 04/03/08 Entered 04/03/08 18:37:54   Desc
                       Main Document     Page 53 of 65
Case 06-02229-lmj11   Doc 262 Filed 04/03/08 Entered 04/03/08 18:37:54   Desc
                       Main Document     Page 54 of 65
Case 06-02229-lmj11   Doc 262 Filed 04/03/08 Entered 04/03/08 18:37:54   Desc
                       Main Document     Page 55 of 65
Case 06-02229-lmj11   Doc 262 Filed 04/03/08 Entered 04/03/08 18:37:54   Desc
                       Main Document     Page 56 of 65
Case 06-02229-lmj11   Doc 262 Filed 04/03/08 Entered 04/03/08 18:37:54   Desc
                       Main Document     Page 57 of 65
Case 06-02229-lmj11   Doc 262 Filed 04/03/08 Entered 04/03/08 18:37:54   Desc
                       Main Document     Page 58 of 65
Case 06-02229-lmj11   Doc 262 Filed 04/03/08 Entered 04/03/08 18:37:54   Desc
                       Main Document     Page 59 of 65
Case 06-02229-lmj11   Doc 262 Filed 04/03/08 Entered 04/03/08 18:37:54   Desc
                       Main Document     Page 60 of 65
Case 06-02229-lmj11   Doc 262 Filed 04/03/08 Entered 04/03/08 18:37:54   Desc
                       Main Document     Page 61 of 65
Case 06-02229-lmj11   Doc 262 Filed 04/03/08 Entered 04/03/08 18:37:54   Desc
                       Main Document     Page 62 of 65
Case 06-02229-lmj11   Doc 262 Filed 04/03/08 Entered 04/03/08 18:37:54   Desc
                       Main Document     Page 63 of 65
Case 06-02229-lmj11   Doc 262 Filed 04/03/08 Entered 04/03/08 18:37:54   Desc
                       Main Document     Page 64 of 65
Case 06-02229-lmj11   Doc 262 Filed 04/03/08 Entered 04/03/08 18:37:54   Desc
                       Main Document     Page 65 of 65
